Case 2:04-CV-02626-SHI\/|-tmp Document 60 Filed 08/01/05 Page 1 of 2 Page|D 25

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IN THE UNITED sTATEs DIsTRIcT coURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG -| AHIU: 32
wEsTERN DIvIsION

 

 

GREGORY BRAY,

Plaintiff,
VS. NO. O4-2626-MaP
GERALD STIPANUK, E'I' AL. ,

Defendants.

 

ORDER OF DISMISSAL

 

The parties have submitted a “Stipulation of Dismissal With
Prejudice As To Defendant Shelby County, Tennessee" in this
matter indicating that this matter may be dismissed as to this
defendant. It is therefore ORDERED that this case is DISMISSED
with prejudice as to defendant Shelby County, Tennessee.

Entered this 1 "}Glay of July, 2005.

JA(/m

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CV-02626 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

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Honorable Samuel Mays
US DISTRICT COURT

